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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                   )
 PETER P. STRZOK,                  )
                                   )
                  Plaintiff,       )
                                   )                           Case No. 1:19-cv-2367-ABJ
         v.                        )
                                   )
 ATTORNEY GENERAL WILLIAM F. BARR, )
 in his official capacity, et al., )
                                   )
                  Defendants.      )
                                   )
                                   )

                         JOINT MOTION TO EXTEND DEADLINES

       The parties hereby move for an extension of Plaintiff’s deadline to oppose Defendants’

pending motion, ECF No. 30, and of the deadline for Defendants to file their reply in support of

that motion. Plaintiff’s opposition is currently due December 20, 2019, and Defendants’ reply is

currently due January 3, 2020. The parties respectfully ask that the deadline for Plaintiff to file

his opposition be extended until December 30, 2019, and that the deadline for Defendants’ to file

their reply be extended until January 17, 2020. The parties make this request in light of the

upcoming holidays, which will affect the work and travel schedule of several of the attorneys

involved in this case, and due to press of other litigation.

       The parties do not anticipate the need to request an additional extension of these deadlines.

Dated: December 19, 2019                               Respectfully submitted,

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